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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS
                                   (Topeka Docket)

UNITED STATES OF AMERICA

                         Plaintiff,

      v.                                               Case No. 18- 40076-HLT

ERIC NEWMAN,

                         Defendant.



                                      SEALED INDICTMENT

       The Grand Jury charges:

                                  GENERAL ALLEGATIONS

       1.      On or about January 19, 2018, defendant ERIC NEWMAN was travelling on

board the Carnival Elation, a foreign vessel registered in Panama.

       2.      On or about January 19, 2018, the Carnival Elation was on a voyage with both a

scheduled departure from and arrival in Jacksonville, Florida, United States of America.

       3.      ERIC NEWMAN is a United States national as defined in Title 8, United States

Code, Sections 1101(a)(22) and 1408.

       4.      Tamara Tucker was a United States national as defined in Title 8, United States

Code, Sections 1101(a)(22) and 1408.

       5.      The conduct alleged in this Indictment occurred outside the jurisdiction of any

particular State or District and within the venue of the United States District Court for the




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District of Kansas, in that the last known U.S. residence of the defendant, ERIC NEWMAN, is in

Topeka, Kansas, as provided by Title 18, United States Code, Section 3238.


                                             COUNT 1

                                 (Murder in the Second Degree)

       6.      The General Allegations set forth in Paragraphs 1 through 5 of this Indictment are

re-alleged and expressly incorporated herein as if set out in full.

       7.      On or about January 19, 2018, during a voyage on board the Carnival Elation, a

place within the special maritime territorial jurisdiction of the United States, the defendant ERIC

NEWMAN, with malice aforethought, did unlawfully kill Tamara Tucker, in violation of Title

18, United States Code, Sections 1111(a) and 7(8).

                                                       A TRUE BILL.


Dated: September 5, 2018                               s/Foreperson
                                                       FOREPERSON


STEPHEN R. MCALLISTER                                  BRIAN A. BENCZKOWSKI
United States Attorney                                 Assistant Attorney General
District of Kansas                                     Criminal Division, U.S. Dept. of Justice

__________________________                             _____________________________
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(It is requested that trial of the above captioned case be held in Topeka, Kansas.)




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